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                UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN


 MICHIGAN PROTECTION &
 ADVOCACY SERVICE, INC.                         Case No.

                   Plaintiff,                   Hon.

 v.

 FENTON HEALTHCARE, LLC,
 d/b/a FENTON HEALTHCARE

               Defendants.
 ______________________________________/

 Michigan Protection & Advocacy Service, Inc.
 Chris E. Davis (P52159)
 Attorney for Plaintiff
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 Email: cdavis@mpas.org
 _____________________________________/



                                 COMPLAINT


                                INTRODUCTION

 1.    Plaintiff, Michigan Protection and Advocacy Service, Inc.

       (MPAS), brings this action for declaratory and injunctive relief

       pursuant to 42 U.S.C. §§ 10807-10827, the Protection and

       Advocacy for Individuals with Mental Illness Act of 1986
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       (PAIMI); 42 U.S.C. §§ 15041-15045, the Developmental

       Disabilities Assistance and Bill of Rights Act of 2000 (DD); and

       29 U.S.C. § 794e, the Protection and Advocacy of Individual

       Rights (PAIR), Program of the Rehabilitation Act of 1973, as

       amended.

 2.    Plaintiff, MPAS, challenges Defendant’s failure to disclose

       documents relating to allegations of abuse and neglect of one

       of its clients.

 3.    This requested information from Defendant and disclosure is

       required by the PAIMI, DD, and PAIR Acts.

 4.    MPAS is charged with the responsibility, both under federal and

       state law, to investigate allegations of abuse and neglect

       against persons with disabilities.

 5.    Defendants' failure to provide the documents and information at

       issue has interfered with Plaintiff’s investigative responsibilities

       and resulted in Plaintiff being denied its rights, pursuant to the

       PAIMI, DD, and PAIR Acts to investigate the suspected

       incidents of abuse and neglect.




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                      JURISDICTION AND VENUE

 6.    This Court has jurisdiction over this action pursuant to 28

       U.S.C. § 1331.

 7.    Plaintiff’s federal claims are made pursuant to 42 U.S.C. §§

       10801-10827; 42 U.S.C. §§ 15041-15045; and, 29 U.S.C. §

       794e.

 8.    Declaratory and injunctive relief are authorized pursuant to 28

       U.S.C. §§ 2201, 2202.

 9.    Venue is appropriate in this district pursuant to 28 U.S.C.

       §1391(b), as all of the events and omissions complained of

       below occurred in this district.



                                 PARTIES

 10.   Plaintiff, MPAS, is a Michigan non-profit corporation.

 11.   The Governor of Michigan has designated MPAS as the state’s

       protection and advocacy system, pursuant to M.C.L. §

       330.1931(1), with the responsibility to enforce and carry out the

       federal mandates under the PAIMI, DD and PAIR Acts.




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 12.   As the state’s protection and advocacy system, MPAS is

       required to investigate allegations of abuse and neglect of

       persons with disabilities. M.C.L. § 330.1931(2).

 13.   Defendant, FENTON HEALTHCARE, LLC, d/b/a FENTON

       HEALTHCARE (FENTON) is a foreign limited liability company

       whose state of origin is Delaware.

 14.   FENTON operates and conducts business as a nursing care

       facility in the City of Fenton, Genesee County, Michigan.



                                 FACTS

 15.   On or about February 24, 2016, MPAS staff reviewed licensing

       surveys from October 2015, which indicated that individuals

       with disabilities may have been subject to abuse and neglect.

 16.   The licensing survey indicated that a resident at FENTON may

       have been subject to abuse and neglect relating to the improper

       administration of psychotropic medications and failure to

       provide appropriate social services.

 17.   Based on the information received, MPAS determined it had

       probable cause to open an investigation into the allegations of

       possible neglect and abuse.



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 18.   MPAS staff has made repeated requests for records relating to

       the alleged incidents and the client's records, but Defendant

       has not provided all of the records requested.

 19.   Defendant has provided some of the requested records while

       unlawfully refusing to provide other records to Plaintiff.

 20.   MPAS' attorney has made contact with Defendant by certified

       mail to obtain the missing records, but as of the date of this

       Complaint the missing records have not been received.


             COUNT I – VIOLATION OF THE PAIMI ACT’S
                ACCESS TO RECORDS PROVISION


 21.   Plaintiff realleges and incorporates paragraphs 1 through 20 as

       though fully set forth herein.

 22.   MPAS, as Michigan’s designated protection and advocacy

       system, has the right to access all records relating to individuals

       to which the PAIMI Act applies when conducting abuse and

       neglect    investigations.       42   U.S.C.    §§     10805(a)(4),

       10806(b)(3)(A,B).

 23.   Defendant’s failure to provide Plaintiff with the requested

       records, relating to the allegations of abuse and/or neglect of




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       the alleged victim, violates MPAS’ rights under the PAIMI Act,

       42 U.S.C. §§ 10801-10827.

 24.   Defendant’s actions frustrate, impinge and prevent MPAS from

       meeting its responsibilities under federal and state law to

       investigate allegations of abuse and/or neglect of individuals

       with mental illness.

 25.   MPAS made a probable cause determination that abuse and

       neglect occurred and that the individual is covered under this

       act.

 26.   The Defendant is a covered entity under this act.

 27.   MPAS has no adequate remedy at law and, therefore, seeks

       injunctive and declaratory relief.


              COUNT II – VIOLATION OF THE DD ACT’S
                ACCESS TO RECORDS PROVISION


 28.   Plaintiff realleges and incorporates paragraphs 1 through 27 as

       though fully set forth herein.

 29.   MPAS, as Michigan’s designated protection and advocacy

       system, has the right to access all records relating to individuals

       to which the DD Act applies when conducting abuse and

       neglect investigations. 42 U.S.C § 15043.

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 30.   Defendant’s failure to provide Plaintiff with the requested

       records, relating to the allegations of abuse and/or neglect of

       the alleged victim, violates MPAS’ rights under the DD Act, 42

       U.S.C. § 15043.

 31.   Defendant’s actions frustrate, impinge and prevent MPAS from

       meeting its responsibilities under federal and state law to

       investigate allegations of abuse and/or neglect of individuals

       with developmental disabilities.

 32.   MPAS made a probable cause determination that abuse and

       neglect occurred and that the individual is covered under this

       act.

 33.   The Defendant is a covered entity under this act.

 34.   MPAS has no adequate remedy at law and, therefore, seeks

       injunctive and declaratory relief.


              COUNT III – VIOLATION OF THE PAIR ACT’S
                 ACCESS TO RECORDS PROVISION


 35.   Plaintiff realleges and incorporates paragraphs 1 through 34 as

       though fully set forth herein.

 36.   MPAS, as Michigan’s designated protection and advocacy

       system, has the right to access all records relating to individuals

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       to which the PAIR Act applies when conducting abuse and

       neglect investigations. 29 U.S.C. § 794e, and 42 U.S.C.

       §15043.

 37.   Defendant’s failure to provide Plaintiff with the requested

       records, relating to the allegations of abuse and/or neglect of

       the alleged victim, violates MPAS’ rights under the PAIR Act, 29

       U.S.C. § 794e.

 38.   Defendant’s actions frustrate, impinge and prevent MPAS from

       meeting its responsibilities under federal and state law to

       monitor facilities and to prevent abuse and/or neglect of

       individuals with mental illness.

 39.   MPAS made a probable cause determination that abuse and

       neglect occurred and that the individual is covered under this

       act.

 40.   The Defendant is a covered entity under this act.

 41.   MPAS has no adequate remedy at law and, therefore, seeks

       injunctive and declaratory relief.



                         REQUESTED RELIEF

 WHEREFORE, Plaintiff respectfully requests this Court:



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 A.       Enter a declaratory judgment, in accordance with 28 U.S.C.

          § 2201, declaring that Defendant’s actions and failures to act

          violate the PAIMI, DD, and/or PAIR Acts by:

          i)      Denying Plaintiff access to records to which it is

                  entitled to under federal law; and

          ii)     Preventing MPAS from fully performing its statutory

                  duty to investigate incidents of suspected abuse and/or

                  neglect of persons with disabilities, in violation of

                  PAIMI, DD, and/or PAIR Acts;

 B.       Enter permanent injunctive relief, pursuant to 28 U.S.C. §

          2202, requiring Defendant to provide MPAS all reports,

          documents, and records relating to the alleged victims and

          that Defendant comply with the provisions of the PAIMI, DD

          and PAIR Acts now and in the future;

 C.       Retain jurisdiction over this action to ensure Defendant’s

          compliance with the mandates of the PAIMI, DD and PAIR

          Acts;

 D.       Award Plaintiff costs and reasonable attorney fees; and

 E.       Order such other, further, or different relief as the Court

          deems equitable and just.



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                                      Respectfully submitted,



  Dated: June 2, 2016                 s/Chris E. Davis
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